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UNITED STATES DISTRICT COURT _'1';:.` ~;:‘_=
WESTERN DISTRICT OF TENNESSEE

     

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'V' ease No. 2:04cr20471-04M1

TAMMY CRAIG

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

I'I` IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) 'I`he defendant shall not commit any offense in violation of federal, state or local law While on release in this
case.

(2) The defendant shall immediately advise the coult, Pretrial Services Office, Probation Oftice, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed. The defendant shall next appear for Arraignment in the United States Courthouse and
F ederal Building in Courtroom Courtroom # 5 on Wednesday May 11, 2005 at 9:30am.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financial Conditions

0 report as directed by the Pretrial Services Office.

ADVICE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a tenn of imprisonment, a tine, or both.

This document entered on the docket sheet in coins an ; '\
A0199A orderse'irmg conditions orRetease W;th Hu|e 515 and/or 32(b) FHCrP 011 5"¢'0!

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The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a terrn of imprisonment of not more than one
year, if the offense is a misdemeanor This sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or mformant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisomnent for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than SIO0,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and thatI am aware of the conditions of release. Ipromise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed I am aware
of the penalties and sanctions set forth above.

Signatlfr/efof ]jlefendani~/

Tammy Craig

3303 Beatty

West Memphis, AR 72301
(901) 644-4473

DlRECT|ONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processingl

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Officer that the defendant has posted bond and/or complied With all other conditions for release, The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Date: MayZ, 2005 /<©\./(a/YU/ Z// ZUM

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

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AO 199A Order Setting Condi'tioris of Re|ease '2'

   

UNITED sATE DISTRICT COURT - W"'RNT DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:04-CR-20471 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

